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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                           Cause No. 1:23-cv-00298-MN
       v.
                                                            JURY TRIAL DEMANDED
THE TEACHING COMPANY, LLC,

               Defendant.


              DEFENDANT’S ANSWER, AFFIRMATIVE DEFENSES, AND
                 COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT

       The Teaching Company, LLC (“Defendant” or “The Teaching Company”) files this

Answer, Affirmative Defenses, and Counterclaims to Plaintiff Rothschild Broadcast Distribution

Systems, LLC’s (“Plaintiff” or “RBDS”) Complaint for Patent Infringement (“Complaint”). The

Teaching Company denies the allegations and characterizations in Plaintiff’s Complaint unless

expressly admitted in the following paragraphs.

                                             PARTIES

       1.      The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 1 of the Complaint, and, on that basis, denies

the allegations of Paragraph 1 of the Complaint.

       2.      The Teaching Company admits it is a Delaware corporation, with a place of

business at 4840 Westfields Blvd., Suite 400, Chantilly, VA and that it may be served through its

agent, The Corporation Trust Company at Corporation Trust Center, 1209 Orange St.,

Wilmington, Delaware 19801. The Teaching Company denies any remaining allegations in

Paragraph 2 of the Complaint.
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                                 JURISDICTION AND VENUE

       3.        The Teaching Company admits the Complaint purports to set forth an action for

patent infringement, but The Teaching Company denies it has committed or is committing acts

of infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 3 of the Complaint.

       4.        The Teaching Company admits this Court has subject matter jurisdiction over this

action pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff has alleged infringement of a

patent, but The Teaching Company denies it has committed or is committing acts of

infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 4 of the Complaint.

       5.        The Teaching Company does not contest whether personal jurisdiction over it

properly lies in this District in this action. The Teaching Company denies the remaining

allegations of Paragraph 5 of the Complaint.

       6.        The Teaching Company admits it offers services in this District. The Teaching

Company denies it has committed or is committing acts of infringement and denies Plaintiff is

entitled to any relief. The Teaching Company denies any remaining allegations in Paragraph 6 of

the Complaint.

       7.        The Teaching Company does not contest that venue may be proper in this District

in this action. The Teaching Company denies it has committed or is committing acts of

infringement and, on that basis, denies any remaining allegations of Paragraph 7 of the

Complaint.




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                                        PATENT-IN-SUIT

       8.      The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 8 of the Complaint, and, on that basis, denies

all such allegations.

       9.      The Teaching Company denies the allegations in Paragraph 9 of the Complaint.

       10.     The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 10 of the Complaint, and, on that basis,

denies all such allegations.

       11.     The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 11 of the Complaint, and, on that basis,

denies all such allegations.

       12.     The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 12 of the Complaint, and, on that basis,

denies all such allegations.

       13.     The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 13 of the Complaint, and, on that basis,

denies all such allegations.

       14.     The Teaching Company admits the ’221 Patent contains thirteen claims, including

two independent claims (claims 1 and 7) and eleven dependent claims.

       15.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 15 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       16.     The Teaching Company admits the Complaint purports to set forth an action for

patent infringement, but The Teaching Company denies it has committed or is committing acts
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of infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 16 of the Complaint.

       17.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 17 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       18.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 18 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       19.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 19 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       20.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 20 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       21.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 21 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       22.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 22 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       23.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 23 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.



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       24.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 24 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       25.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 25 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       26.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 26 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       27.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 27 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       28.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 28 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

       29.     The Teaching Company admits the ’221 Patent speaks for itself and denies any

remaining allegations in Paragraph 29 of the Complaint. The Teaching Company specifically

denies that the ’221 Patent is valid or enforceable.

                             ACCUSED INSTRUMENTALITIES

       30.     The Teaching Company admits offers services under the brand name “The Great

Courses,” but The Teaching Company denies it has committed or is committing acts of

infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 30 of the Complaint.



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                                       COUNT ONE
                ([Alleged] Infringement of United States Patent No. 8,856,221)

       31.     The Teaching Company refers to and incorporates the allegations in Paragraphs

1–30, the same as if set forth herein.

       32.     The Teaching Company admits the Complaint purports to set forth an action for

patent infringement, but The Teaching Company denies it has committed or is committing acts

of infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 32 of the Complaint.

       33.     The Teaching Company denies it has committed or is committing acts of

infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 33 of the Complaint.

       34.     The Teaching Company denies it has committed or is committing acts of

infringement and denies Plaintiff is entitled to any relief. The Teaching Company denies any

remaining allegations in Paragraph 34 of the Complaint.

       35.     The Teaching Company denies the allegations in Paragraph 35 of the Complaint.

       36.     The Teaching Company denies the allegations in Paragraph 36 of the Complaint.

       37.     The Teaching Company denies the allegations in Paragraph 37 of the Complaint.

       38.     The Teaching Company denies the allegations in Paragraph 38 of the Complaint.

       39.     The Teaching Company denies the allegations in Paragraph 39 of the Complaint.

       40.     The Teaching Company denies the allegations in Paragraph 40 of the Complaint.

       41.     The Teaching Company denies the allegations in Paragraph 41 of the Complaint.

       42.     The Teaching Company admits a purported copy of the ’221 Patent is attached as

Exhibit A to the Complaint.

       43.     The Teaching Company denies the allegations in Paragraph 43 of the Complaint.


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          44.    The Teaching Company denies the allegations in Paragraph 44 of the Complaint.

          45.    The Teaching Company denies the allegations in Paragraph 45 of the Complaint.

          46.    The Teaching Company is without knowledge or information sufficient to form a

belief as to the truth of the allegations in Paragraph 46 of the Complaint, and, on that basis,

denies all such allegations.

          47.    The Teaching Company denies the allegations in Paragraph 47 of the Complaint.

                           [PLAINTIFF’S] DEMAND FOR JURY TRIAL

          48.    The Teaching Company is not required to provide a response to Plaintiff’s

demand for a jury trial.

                               [PLAINTIFF’S] PRAYER FOR RELIEF

          The Teaching Company denies Plaintiff is entitled to any relief from The Teaching

Company and denies all the allegations contained in Paragraphs (a)-(d) of Plaintiff’s Prayer for

Relief.


                                   AFFIRMATIVE DEFENSES

          The Teaching Company’s Affirmative Defenses are listed below. The Teaching Company

reserves the right to amend its answer to add additional Affirmative Defenses consistent with the

facts discovered in this action.

                                FIRST AFFIRMATIVE DEFENSE

          The Teaching Company has not infringed and does not infringe, under any theory of

infringement (including directly (whether individually or jointly) or indirectly (whether

contributorily or by inducement)), any valid, enforceable claim of the ’221 Patent.




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                              SECOND AFFIRMATIVE DEFENSE

         Each asserted claim of the ’221 Patent is invalid for failure to comply with one or more of

the requirements of the United States Code, Title 35, including without limitation, 35 U.S.C.

§§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                               THIRD AFFIRMATIVE DEFENSE

         To the extent that Plaintiff and any predecessors in interest to any of the ’221 Patent failed

to properly mark any of their relevant products or materials as required by 35 U.S.C. § 287, or

otherwise give proper notice that The Teaching Company’s actions allegedly infringe the ’221

Patent, The Teaching Company is not liable to Plaintiff for the acts alleged to have been performed

before it received actual notice that it was allegedly infringing the ’221 Patent.

                              FOURTH AFFIRMATIVE DEFENSE

         To the extent Plaintiff asserts that The Teaching Company indirectly infringes, either by

contributory infringement or inducement of infringement, The Teaching Company is not liable to

Plaintiff for the acts alleged to have been performed before The Teaching Company knew that its

actions would cause indirect infringement.

                                FIFTH AFFIRMATIVE DEFENSE

         Plaintiff’s attempted enforcement of the ’221 Patent against The Teaching Company is

barred by one or more of the equitable doctrines of estoppel, acquiescence, waiver, and unclean

hands.

                               SIXTH AFFIRMATIVE DEFENSE

         The claims of the ’221 Patent are not entitled to a scope sufficient to encompass any system

employed or process practiced by The Teaching Company.




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                            SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

’221 Patent does not claim patentable subject matter.

                             EIGHTH AFFIRMATIVE DEFENSE

       Should The Teaching Company be found to infringe any valid, enforceable claim of the

’221 Patent, such infringement was not willful.

                    THE TEACHING COMPANY’S COUNTERCLAIMS

       For its counterclaims against Plaintiff Rothschild Broadcast Distribution Systems, LLC

(“RBDS”), Counterclaim Plaintiff The Teaching Company, LLC alleges as follows:

                                            PARTIES

       1.      Counterclaim Plaintiff The Teaching Company is a Delaware company with a

principal place of business at 4840 Westfields Blvd., Suite 400, Chantilly, VA 20151-2299.

       2.      Upon information and belief based solely on Paragraph 1 of the Complaint as pled

by Plaintiff, Counterclaim Defendant RBDS is a limited liability company organized and

existing under the laws of the State of Texas, and maintains a place of business at 1 East

Broward Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

                                        JURISDICTION

       3.      The Teaching Company incorporates by reference Paragraphs 1–2 above.

       4.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.      RBDS has consented to the personal jurisdiction of this Court at least by

commencing its action for patent infringement in this District, as set forth in its Complaint.



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       6.      Based solely on RBDS’s filing of this action, venue is proper, though not

necessarily convenient, in this District pursuant to at least 28 U.S.C. §§ 1391 and 1400.

                                 COUNT I
                  DECLARATION REGARDING NON-INFRINGEMENT

       7.      The Teaching Company incorporates by reference Paragraphs 1–6 above.

       8.      Based on RBDS’s filing of this action and at least The Teaching Company’s First

Affirmative Defense, an actual controversy has arisen and now exists between the parties as to

whether The Teaching Company infringes U.S. Patent No. 8,856,221 (the “’221 Patent”).

       9.      The Teaching Company does not infringe at least Claim 7 of the ’221 Patent

because, among other things, it does not make, use, offer to sell, sell, or import any method or

system that “receiv[es] a request message including media data,” “wherein the media data

includes time data that indicates a length of time to store the requested media content.”

       10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., The

Teaching Company requests a declaration by the Court that The Teaching Company has not

infringed and does not infringe any claim of the ’221 Patent under any theory (including directly

(whether individually or jointly) or indirectly (whether contributorily or by inducement)).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.     The Teaching Company incorporates by reference Paragraphs 1–10 above.

       12.     Based on RBDS’s filing of this action and at least The Teaching Company’s

Second Affirmative Defense, an actual controversy has arisen and now exists between the parties

as to the validity of the claims of the ’221 Patent.

       13.     The asserted claims of the ’221 Patent are anticipated and/or rendered obvious by,

inter alia, U.S. Pat. No. 9,898,500 and U.S. Patent Appl. No. 13/269,614.



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       14.     U.S. Pat. No. 9,898,500 teaches or suggests “techniques and systems for storage,

delivery and acquisition of digital assets stored in cloud data storage.” ’500 Pat., Abstract.

       15.     U.S. Patent Appl. No. 13/269,614 teaches or suggests “[d]elivering dynamic

media content to a client on a client device” wherein clients “initiate requests” and “download”

information from “data server units.” ’614 Appl., Abstract.

       16.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201 et seq., The

Teaching Company requests a declaration by the Court that claims of the ’221 Patent are invalid

for failure to comply with one or more of the requirements of United States Code, Title 35,

including without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and

laws pertaining thereto.

                                     PRAYER FOR RELIEF

       WHEREFORE, The Teaching Company asks this Court to enter judgment in The Teaching

Company’s favor and against RBDS by granting the following relief:

       a)      a declaration that the ’221 Patent is invalid;

       b)      a declaration that The Teaching Company does not infringe, under any theory, any

valid claim of the ’221 Patent that may be enforceable;

       c)      a declaration that the ’221 Patent is unenforceable;

       d)      a declaration that RBDS take nothing by its Complaint;

       e)      judgment against RBDS and in favor of The Teaching Company;

       f)      dismissal of the Complaint with prejudice;

       g)      a finding that this action is an exceptional case under 35 U.S.C. § 285 and an award

to The Teaching Company of its costs and attorneys’ fees incurred in this action; and

       h)      further relief as the Court may deem just and proper.



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                                    JURY DEMAND

      The Teaching Company hereby demands trial by jury on all issues.



Dated: April 10, 2023                        Respectfully submitted,

                                        By: /s/ Jeremy D. Anderson
                                            Jeremy D. Anderson (Bar No. 4515)
                                            222 Delaware Avenue, 17th Floor
                                            Wilmington, Delaware 19801
                                            (302) 652-5070 (Telephone)
                                            (302) 652-0607 (Facsimile)
                                            janderson@fr.com

                                            Neil J. McNabnay (pro hac vice forthcoming)
                                            Ricardo J. Bonilla (pro hac vice forthcoming)
                                            Michael A. Vincent (pro hac vice forthcoming)
                                            1717 Main Street, Suite 5000
                                            Dallas, Texas 75201
                                            (214) 747-5070 (Telephone)
                                            (214) 747-2091 (Facsimile)
                                            macnabnay@fr.com
                                            rbonilla@fr.com
                                            vincent@fr.com

                                        COUNSEL FOR DEFENDANT
                                        THE TEACHING COMPANY, LLC




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